 Case 4:20-cv-00957-SDJ          Document 626 Filed 10/04/24             Page 1 of 2 PageID #:
                                          22087



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                   §
                                               §
                                               §
              Plaintiffs,                      §
                                               §
 v.                                            §    Civil Action No. 4:20-cv-00957-SDJ
                                               §
 GOOGLE LLC,                                   §
                                               §
                                               §
              Defendant.                       §


                  DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION
                             TO FILE UNDER SEAL

       Defendant Google LLC (“Google”) respectfully moves to seal its October 4, 2024 Reply

in Support of Its Motion to Strike Improper Rebuttal Opinions of Plaintiffs’ Experts David

DeRamus and Anil Somayaji (“Reply”).

       Google, with Plaintiffs’ consent, requests to file the Reply under seal because it discusses

materials, including expert reports, properly designated Highly Confidential by either Plaintiffs or

Google, pursuant to the Court’s protective order. These materials include those discussed in

Google’s motion to seal its opening Motion to Strike (Dkt. #612), which to the extent necessary is

incorporated herein by reference.

       Pursuant to Local Rule CV-5(a)(7)(E), Google will file a redacted copy of the Reply within

seven days.
 Case 4:20-cv-00957-SDJ          Document 626 Filed 10/04/24            Page 2 of 2 PageID #:
                                          22088



Dated: October 4, 2024                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on October 4, 2024, this document was filed electronically in compliance with
Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local
Rule CV-5(a)(3)(A).

                                                            /s/ Michael Davis
                                                            Michael Davis
                             CERTIFICATE OF CONFERENCE

      Pursuant to Local Rule CV-7(i), I certify that the meet and confer requirements in Local
Rule CV-7(h) have been met, and that this motion is unopposed.

                                                            /s/ Michael Davis
                                                            Michael Davis


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